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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                         SAN ANTONIO DIVISION

 MARION HOPKINS                                  §
                                                 §
           Plaintiff,                            §
                                                 §
 v.                                              §
                                                 §          CASE NO. 5:20-cv-303
 PPH MORTGAGE                                    §
                                                 §
           Defendant.                            §
                                                 §

               DEFENDANT’S CORPORATE DISCLOSURE STATEMENT AND
                      CERTIFICATE OF INTERESTED PERSONS

         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant, PHH Mortgage

Corporation (“PHH MC” or “Defendant”), improperly named as PPH Mortgage, files this

Corporate Disclosure Statement and Certificate of Interested Persons.

                        I. PHH’S CORPORATE DISCLOSURE STATEMENT

         PHH MC is a New Jersey corporation. One hundred percent of the common stock

of PHH MC is owned by PHH Corporation, and one hundred percent of PHH Corporation’s

common stock is owned by Ocwen Financial Corporation. Ocwen Financial Corporation

is a publicly traded corporation, with no entity owning more than 10% of its stock.

                             II. CERTIFICATE OF INTERESTED PARTIES

         The following parties are financially interested in the outcome of this litigation:

              a. Plaintiff Marion Hopkins; and

              b. Defendant PHH MC.




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Dated: March 12, 2020                         Respectfully submitted,

                                              DYKEMA GOSSETT PLLC

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                                              Attorneys for Defendant




                             CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document has been served on the following

counsel of record via the court’s ECF filing system and via email on March 12, 2020, in

accordance with the Federal Rules of Civil Procedure:

      Ramon S. Rodriguez Jr.
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                                        /s/ Brett W. Schouest
                                        Brett W. Schouest




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